              Case 2:19-cv-01546-RSL Document 69 Filed 03/05/21 Page 1 of 2




 1                                                                    The Honorable Robert S. Lasnik

 2

 3

 4

 5

 6

 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9   HUMAN & JOY CORPORATION d/b/a                         NO. 2:19-cv-01546 RSL-MLP
     TERIYAKI & WOK, a Washington
10   corporation,

11                  Plaintiff,                             STIPULATION AND ORDER
                                                           DISMISSING MATTER WITH
12          v.                                             PREJUDICE
13   SEATTLE OFFICE OF LABOR
     STANDARDS, an agency of the CITY OF
14   SEATTLE, a municipal corporation;
     MARGARET WEIHS, an individual; and
15   CINDI WILLIAMS, an individual,

16                  Defendants.

17
                                             STIPULATION
18
            The parties have resolved their dispute and thus stipulate that this action should be
19
     dismissed with prejudice and without fees or costs to any party in order to finalize their
20
     settlement.
21
            SO STIPULATED this 4th day of March, 2021.
22

23

24

25


      STIPULATION AND ORDER DISMISSING PLAINTIFF’S CLAIMS                Williams, Kastner & Gibbs PLLC
      WITH PREJUDICE (2:15-cv-01215-RSL )                                601 Union Street, Suite 4100
                                                                         Seattle, Washington 98101-2380
                                                                         (206) 628-6600
             Case 2:19-cv-01546-RSL Document 69 Filed 03/05/21 Page 2 of 2




 1
      /s/ Daniel A. Brown                                s/ Jessica L. Goldman
 2    Daniel A. Brown, WSBA #22028                       Jessica L. Goldman, WSBA #21856
      Jessica M. Cox, WSBA #53027                        Jesse L. Taylor, WSBA #51603
 3    WILLIAMS, KASTNER & GIBBS PLLC                     SUMMIT LAW GROUP, PLLC
      601 Union Street, Suite 4100                       315 Fifth Avenue S., Suite 1000
 4    Seattle, WA 98101-2380                             Seattle, WA 98104
      Tel: (206) 628-6600 Fax: (206) 628-6611            Tel: (206) 676-7000701
 5    Email: dbrown@williamskastner.com                  E-mail: jessicag@summitlaw.com
              jcox@williamskastner.com                            jesset@summitlaw.com
 6    Attorneys for Plaintiff                            Attorneys for Defendant
 7

 8
                                                 ORDER
 9
            The Court has considered the parties’ stipulation.
10
            NOW, THEREFORE, IT IS ORDERED that this matter is DISMISSED with
11
     prejudice and without fees or costs to any party.
12
            Dated this 5th day of March, 2021.
13

14
                                                  Robert S. Lasnik
15
                                                  United States District Judge
16

17

18

19

20

21

22

23

24

25


      STIPULATION AND ORDER DISMISSING PLAINTIFF’S CLAIMS             Williams, Kastner & Gibbs PLLC
      WITH PREJUDICE (2:15-cv-01215-RSL )                             601 Union Street, Suite 4100
                                                                      Seattle, Washington 98101-2380
                                                                      (206) 628-6600
